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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                8:04CR164-7
                                        )
            v.                          )
                                        )
PEDRO MORALES,                          )                JUDGMENT
                                        )
                   Defendant.           )
                                        )


      IT IS ORDERED that judgment is entered for the United States of America and
against the defendant, Pedro Morales, providing that he shall take nothing and his §
2255 motion is dismissed with prejudice.

      DATED this 26 th day of September, 2011.

                                       BY THE COURT:

                                       Richard G. Kopf
                                       United States District Judge
